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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



  ENTROPIC COMMUNICATIONS, LLC,                              Civil Action No. 2:22-cv-00125-JRG

          Plaintiff,                                            JURY TRIAL DEMANDED

             v.

  CHARTER COMMUNICATIONS, INC.,

          Defendant.




            UNOPPOSED MOTION TO WITHDRAW MOTION TO COMPEL

        Defendant Charter Communications, Inc. (“Defendant”) hereby respectfully moves the

 Court to withdraw its Motion to Compel Responses to Interrogatories 8, 16, 23, and 29. Dkt. 130.

 Defendant respectfully represents that the Motion to Compel is now moot because third-party

 MaxLinear, Inc. has produced the documents sought through the Motion to Compel.

        Defendant has conferred with counsel for Entropic and this motion is unopposed.

        WHEREFORE, Defendant respectfully requests that the Court grant its motion and issues

 an order withdrawing the Motion to Compel pending at Docket No. 130.



  Dated: July 27, 2023                         Respectfully submitted,

                                               /s/ Elizabeth Long (with permission)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has been

 served on all counsel of record via email and the Court’s ECF system on July 27, 2023.

                                             /s/ Elizabeth Long
                                             Elizabeth Long




                              CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that counsel for Defendant has complied with the meet

 and confer requirement in Local Rule CV-7(h). Counsel for Plaintiff indicated that it does not

 oppose the relief sought in this motion.



                                             /s/ Elizabeth Long
                                             Elizabeth Long




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